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ORDR
DISTRICT COURT
CLARK COUNTY, NEVADA

CONSIPIO HOLDING BV, a corporation

organized under the laws of The Netherlands,

et al.,
Plaintiffs,

VS.

PRIVATE MEDIA GROUP, INC., a Nevada’
corporation, et al.,

Defendants

AND ALL RELATED ACTIONS.

Case No.: A-10-622802-B
Dept. No.: XI
FINDINGS OF FACT, CONCLUSIONS
OF LAW
- AND
PRELIMINARY INJUNCTION |

_ Plaintiffs’ Motion for Preliminary Injunction (the “Motion”) came on for evidentiary

hearing before the above-captioned Court on September 3, 20, 21, 22, 23, November 2 and 3,

2010. Plaintiffs appeared by and through Charles H. McCrez, Jr. (SBN #104) and Meredith

Matkwell (SBN #9203) of the law firm Lionel Sawyer & Collins. Defendant PRIVATE MEDIA

GROUP, INC. (“PRVT”) appeared by and through Robert A. Dotson (SBN #5285) of the law

firm Laxalt & Nomura. The Court has reviewed the pleadings and papers on filed herein, |

considered the evidence presented and heard the arguments of counsel.

GOOD CAUSE APPEARING, the Court makes the following preliminary Findings of

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Fact and Conclusions of Law! based upon the evidence presented in the evidentiary hearing
conducted as part of the Motion for Preliminary Injunction:
FINDIN FACT

The Court preliminariJy- finds the following facts:

1. Plaintiff CONSIPIO HOLDING BV (“Consipio”) is a corporation organized
under the laws of The Netherlands.

2. - Plaintiff ILAN BUNIMOVITZ (“Bunimovitz”) is an individual.

3. Plaintiff TISBURY SERVICES INC. (“Tisbury”) is a company organized under

the laws of the British Virgin Islands.

4. Plaintiff CLAUDIO GIANASCIO (“Gianascio") is an individual.

5. Defendant PRIVATE MEDIA GROUP, INC, (PRVT) i is a Nevada corporation.
PRVT is publicly traded on NASDAQ under the symbol “PRVT.” There are 20,705,823 shares
of PRVT common stock issued and outstanding.

6. Defendant BERTH H. MILTON, JR. (“Milton”) is an officer x (presen) and
director (chairman) of PRVT. -

7. Defendant JOHAN CARLBERG (“Carlberg ") is a director of PRVT.

8. Defendant PETER DIXINGER (“Dixinger”) i isa director of PRVT.

9, Defendant BO RODEBRANT (“Rodebrant”) is a director of PRVT.

10. Defendant JOHAN GILLBORG is an officer (chief financial officer) of PRVT.

11. Defendant PHILIP CHRISTMAS is an officer (chief financial officer) of Milcap -
Media SL, PRVT"s principal operating subsidiary,

12, PRVT does not have a principal place of business in the State of Nevada.
PRVT's registered office in the State of Nevada is located at 3230 E. Flamingo Road, Suite 156,
Las Vegas, Clark County, Nevada 89121. PRVT’s resident agent is Gateway Enterprises, Jnc.

located at the same address.

The Court notes that no party requested to advance the trial on the merits and
although the parties have exchanged certain 1 documents no depositions to date have occurred.

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13. Consipio is a creditor of PRVT holding debt of a disputed amount, claimed by
Consipio to be $5.5 million U.S. The loan forming the basis of the debt originated in 2002 is
currently alleged to be in default and was originally secured by a pledge of 5,600,000 shares of
PRVT common stock. The court has entered an order directing that the company allow Consipio
to vote these shares unless and until there is a determination that the shares are no longer pledged
to secure the loan. /

14, Consipio’s voting rights to 5,600,000 shares of PRVT common stock, represents
27.05% of PRVT’s issued and outstanding shares.

15. Bunimovitz is the legal and beneficial owner and sole lawful holder of the voting
rights to 1,875,951 shares of PRVT common stock, representing 9.06% of PRVT’s issued and
outstanding shares. Bunimovitz has been a shareholder of PRVT from January 20, 2009 to

present.

16. Tisbury is the legal and beneficial owner and sole lawful holder of the voting —

rights to 2,781,029 shares of PRVT comruoon stock, representing 13.43% of PRVT’s issued and
outstanding shares. Tisbury bas been a shareholder of PRVT from May 14, 2009 to present.
17. Gianascio is the legal and beneficial owner and the sole lawful holder of the
voting rights to one share of PRVT common stock. Gianascio has been a shareholder of PRVT
from the time it was first listed on NASDAQ in 1998 to present.
18, Together, Plaintiffs are able pursuant to this Courts order to exercise the voting
"rights to 49.54% of PRVT’s issued and outstanding shares of common stock.
19. In 2007, 2008 and 2009, PRVT reported net operating losses as of December 31
for each year of EUR 400,000, EUR 5.2 million and of EUR 20.5 million, respectively (roughly
_ $535,000, $7.0 million and $26.6 million, respectively, at the current exchange rate). According
‘to PRVT’s Annnal Report filed with the SEC for the year ending December 31, 2009, “the
Company has suffered recurring losses from operations over the past years and has not yet
reestablished profitable operations. These factors raise substantial doubt about its ability to

continue as a going concern.”

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20. Milton hes caused PRVT to make numerous substantial unsecuted loans to

himself and entities he controls. Currently, the amount of these loans total in excess of $10.0

million... These loans were not approved by the Board of Directors when made and Milton has

made no attempt to repay them for at least the past five years. According to PRVT’s Annual
Report filed with the SEC for the year ending December 31, 2009, “[PRVT has} unsecured Joans
to Slingsby Enterprises Limited (“Slingsby”), an entity controlled by Mr. Milton (the “Slingsby
Loans”). The Slingsby Loans bear interest at the rate of EURTBOR+1% per annum and have no
maturity date. During 2009 the highest amount outstanding was EUR 7.25 million. As of
December 31, 2009, and March 31, 2010, EUR 7.25 million and EUR 7.3 million, respectively,
remained outstanding on these Joans, including interest. No payments of ptincipal or interest
have been made in respect of the Slingsby Loans.”

21. The Board Directors of PRVT has not demanded the repayment of the Slingsby

_ Loans or caused PRVT to take steps to collect them.

22. Currently PRVT’s business suffers from a lack of operating capital.
23. The Sarbanes-Oxley Act of 2002 (Sarbanes-Oxley Act of 2002, ELR. Rep. No.

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- 107-610 (2002) the “SOX Act”) was signed into law on July 30, 2002. A key provision of the

SOX Act seeks to regulate and reform corporate conduct in the area of loans to directors and
executive officers. Section 402 of ‘the SOX Act makes it unlawful for any public company,
“directly or indirectly, to extend credit, maintain credit or arrange for the extension of credit in
the form of a personal loan to or for the benefit of any director or executive officer.” -

2A. In 2009, Milton acting as the compensation committee for PRVT caused PRVT to
pay him at least $625,000 that was not approved by the Board of Directors.

25. In March 2010, the Board of Directors concluded that the sum paid to Milton was

‘excessive by $193,000 and retroactively approved a salary of $432,000.

26. This decision was protested by Milton and he threatened to resign and liquidate
his interest in the company.

27, Rather than require Milton to repay the excess, however, the Board of Directors --

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improperly influenced by Milton and PRVT’s U.S. Securities counsel, Samuel Guzik, Esq.
(“Guzik’)’ -- modified the previous decision regarding bonus and pertnitted Milton to keep the
excess, amounting to $193,000, as a “retention bouus” which Milton would be allowed to retain
only if he remained with the company until at least December 31, 2011.

28. There is a pattern of Milton acting and then getting members of the Board of
Directors to justify his actions after the fact.

29. Since December 2009, ‘the Chief Executive Officer of PRVT, Plaintitf
Bunimovitz, has been raising questions to the Board.of Directors about Milton’s actions and how
they might constitute violations of the federal securities Jaws, fiduciary duties and other legal
requirements.

30. On May 6, 2010 Milton called for Bunimovitz’s termination.

31. On June 9, 2010 Milton wrote to the “independent” directors seeking authority to
terminate Bunimovitz.

32. In June 2010, Bunimovitz’s counsel sent a letter to the Board of Directors
detailing his concerns.

33. - Milton delivered a letter to Bunimovitz purporting to terminate him as PRVT’s
CEO “for cause.” .

34. Currently, Milton does not own of control a majority of PRVT’s outstanding
common stack.

35. In July 2010, a representative of Consipio met with Milton. One of the topics
discussed in the course of the meeting was Milton’s assertion that PRVT owed him a substantial
amount of money as compensation for 5.6 million PRVT shares he had pledged as part of a loan .
from Commerzbank in 2001. The loan was acquired by Consipio in 2003 and is currently the
subject of litigation between Consipio and PRVT. Milton claimed that PRVT owed him the

* Guzik testified he made that contact because he wanted the Board to understand the
importance of retaining Milton and the availability of a retention bonus. In the prior report by
the “independent” directors which was prepared after the consultation with a compensation
expert, they specifically addressed cach of these issues.

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aggregate value of these 5.6 million shares as of the date of their pledge to Commerzbank in
December 200] with compound accrued interest at 9.9% since that date. Such an
indemnification agreement is not mentioned in any of PRVT’s SEC filings, is not reflected in the
accounting records of PRVT and is-not included in any of the documentation memorializing the
Commerzbank loan.’ Milton's estimate of damages was in excess of $65 million. Milton stated
further that he intended to cause PRVT to issue millions of shares of stock to himself personally
to compensate himself for this perceived loss, thereby — in his words -- ensuring that control of
the Board of Directors remained with him. Milton further stated that his first step would be to
‘terminate PRVT's CEO for cause. Once this action was completed, Milton stated that his next
step would be to address his own compensation and the share issuance in his favor.

36. Without court intervention, a significant, illegal and highly dilutive share issuance
to Milton appeared imminent, in part, causing this Court to issue a temporary restraining order.

37, At the current trading price of PRVT shares, the issuance of additional shares .
having a value of $65 million would equate to the issuance of more than 30 million new shares
and would more than double the number of existing issued and outstanding shares of PRVT.
This would dilute the holdings of existing shareholders by approximately 150%. Any such
issuance would constitute a violation of Milton’s fiduciary duties to PRVT and its shareholders
who (other than Milton) would be diluted to the point of virtual non-existence. Such issuance of
additional shates as threatened by Milton would cause irreparable harm to PRVT’s shareholders
(other than Milton) including Plaintiffs. — .

38. . Ifany Finding of Fact is properly a Conclusion of Lew, it shall be so deemed.

CONCLUSIONS OF LAW

- Based on the foregoing Findings of Fact, the Court reaches the following Conclusions of
Law: . .
l.. This Court has subject matter jurisdiction over this action under the Nevada
Constitution, Article 6, § 6.
2. . Venue is proper in this Court pursuant to NRS 13.040 and NRS 78.650(1).

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3.  PRVT is a publicly held company that must comply with stringent federal
regulation and listing requirements which restrict the issuance of shares and protect against self
dealing and misappropriation. The Court through this motion has found no violation of any such
rule or Jaw,

4. The Court has reviewed NRS 78.650 and has found that the requirements
supporting the appointment of receiver under NRS 78.650 have not been met.

5, The modification of the recommendation of the independent directors regarding
the treatment of the $193,000 of additional compensation received by Milton in 2009 is of

 eoncern to the court. The involvement of Mr. Guzik in obtaining a modification of this decision
represents taint. The initial report of the independent directors on February 25, 2010 called for
this amount to be returned to the company and after complaints were reccived by them and
Milton threatened to resign, on March 3, 2010 they issued a supplemental report allowing the
$193,000 to be treated as a retention bonus, that would be returned only if Milton left the
company.

6. PRVT’s extension of the Slingsby Loans for ‘Milton's benefit constitutes a
violation of Section 402 of the SOX Act.

determination without the influence of Milton and anyone he controls, regarding the Slingsby
Loans and, to bring appropriate legal proceedings against Milton to collect the Slingsby Loans.

. 8. In 2009, Milton misappropriated at least $193, 000 from PRVT. ‘The attempt by
-PRVT’s Board of Directors -- under improper influence by Milton and Guzik -- to retroactively
approve this misappropriation as a “retention bonus” does not sanction it and does not release

Milton from personal liability to PRVT to repay the misappropriated funds.

on the merits of their claims asserted in the First Amended Verified Complaint filed herein.
10. Plaintiffs have demonstrated that they could suffer imeparable harm if a
preliminary injunction is not issued.

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7. PRVT has an obligation to its shareholders including Plaintiffs to make a

9. At this juncture, Plaintiffs have demonstrated a reasonable likelihood of success | |

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11. The balance of hardship between Plaintiffs and Defendants favors the issuance of
a preliminary injunction.

12. The issuance of a preliminary injunction in this matter will not have a significant

adverse impact on any public interest.

13. any Conclusion of Law is properly a Finding of Fact, it shall be so deemed.
PRELIMINARY INJUNCTION

Based on the foregoing Findings of Fact and Conclusions of Law, it is hereby

ORDERED, ADJUDGED AND DECREED that Plaintiffs’ Motion for appointment of a
Receiver pursuant to NRS 78.650 be and the same is hereby DENIED, however, the Court has
determined that certain, Jess restrictive supervision by this Cowt is appropriate related to the
governance of this Nevada corporation.

IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Plaintiffs’ Motion for
Preliminary Injunction be and the same is hereby GRANTED.

IT JS FURTHER ORDERED, ADJUDGED AND DECREED that PRVT Gluing its
subsidiaries and affiliates) and PRVT’s officers, agents, servants, employees and. attorneys and
other persons who are in, active concert or participation with anyone described in NRCP
65(d)(2)(A) or (B) ate enjoined from holding or conducting any Special Meeting of its Board of —
Directors without prior o: order from this Court, which may be sought on shortened time pursuant
to EDCR 2.26 with prior notice to all parties and counsel of record, And it is further

ORDERED, ADJUDGED AND DECREED that PRVT (including its subsidiaries and
affiliates) and PR'VT’s officers, agents, servants, employees and attorneys and other persons who
are in active concert or participation with anyone described in NRCP 65(d)(2){A) or (B) shall be
enjoined from (i) issuing any additional shares of stock (common or preferred), (ii) incurring any

additional debt (outside of the ordinary course of business), (iii) disposing of any business assets

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(outside of the ordinary course of business), (iv) making any loans to any officer or director of
PRVT or any person or entity owned or controlled by any such officer or director, (v) closing,
liquidating, transferting or withdrawing funds from (other than in the ordinary course of
business) any bank oF brokerage account, (vi) paying any bonus to any officer or director of
PRVT, and (vii) undertaking any other act or transaction that is not in the ordinary course of

business, without the prior approval of a majority of the disinterested members of the Board of

Directors (with whem Milton, Guzik, Gillborg or Christmas shall not communicate regarding the _

| transaction or decision at'issue) at a duly noticed regular meeting of the Board of Directors or at

a Special Meeting of the Board of Directors held in compliance with the requirements of this

Preliminary Injunction as set forth above. And it is further

ORDERED, ADJUDGED AND DECREED that Plaintiffs are required to post security

for the Preliminary Injunction in the amount of $25,000.00, which the Court acknowledges has

already been posted as security for the Temporary Restraining Ordered entered herein on August .

13,2010. And it is further

ORDERED, ADJUDGED AND DECREED that this Preliminary Injunction shall remain

in effect until further order of the Court.

DATED and DONE this 17" day of November 2010,

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Certificate of Service

proper person, as follows:

Charles H. McCrea, Jr., Esq. (Lionel Sawyer & Collins)
Fax: 383-8845

Robert A, Dotson, Esq.
Laxalt & Nomura, Ltd.
9600 Gateway Drive
Reno, NV 89521

(775) 322-1170

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ify tha . ied through e-mail,
I hereby certify that on or about the date filed, this document was copie gh
or a copy of this Order was placed in the attorney's folder in the Clerk s Office or mailed to the

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